          Case 3:02-cr-00005-RLY-MPB                               Document 18               Filed 02/15/12               Page 1 of 2 PageID #:
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                                    Laura A. Briggs, Clerk
                                    U.S. District Court
                                    Southern District of Indiana

                                    By
                                                          Deputy Clerk




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Case 3:02-cr-00005-RLY-MPB          Document 18       Filed 02/15/12      Page 2 of 2 PageID #:
                                           177



Addendum to Order Pursuant to 18 U.S.C. § 3582(c)

          3:02CR00005-004
Cause No. _____________________

          Walter Breland
Defendant _____________________


As directed by 18 U.S.C. ' 3582(c)(2), the Court has considered the relevant factors in U.S.S.G. '
1B1.10(b) and 18 U.S.C. ' 3553(a), and determined a sentence reduction is not appropriate for the
following reason(s):

_____ 1) The defendant is not eligible for a reduction because the amendments listed in
      subsection (c) of U.S.S.G. ' 1B1.10 are not applicable to the defendant.

  ✔ 2) The amendment is listed in subsection (c) of U.S.S.G. ' 1B1.10 and is applicable to the
_____
      defendant, but it does not have the effect of lowering the defendant=s applicable guideline
      range (e.g. a statutory mandatory minimum term of imprisonment, binding plea agreement,
      career offender status).

_____ 3) The defendant is eligible for a reduction under this amendment, but the Court has
      determined such a reduction is not appropriate because of the nature and seriousness of the
      danger to any person or the community that may be posed by a reduction in sentence.
      (Application Note 1(B) of U.S.S.G. ' 1B1.10.)

_____ 4) The defendant is eligible for a reduction under this amendment. However, the Court
      has determined the post-sentencing conduct demonstrates the defendant may pose a danger
      to any person or the community by a reduction in sentence. (Application Note 1(B) of
      U.S.S.G. ' 1B1.10.)

  ✔
_____ 5) Other (explain)

       ________________________________________________________________________
       The defendant's base offense level was determined by the career offender guideline and
       not on the amount of crack cocaine involved in the offense.
       ________________________________________________________________________

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